 Case: 2:16-cv-01020-EAS-KAJ Doc #: 14 Filed: 03/08/17 Page: 1 of 2 PAGEID #: 97




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


KEVIN A. TOLLIVER,

                      Plaintiff,

vs.                                                         Case No.: 2:16-cv-1020
                                                            JUDGE GEORGE C. SMITH
                                                            Magistrate Judge Jolson

WARDEN NOBEL, et al.,

                      Defendants.


                                            ORDER

       On January 13, 2017, the United States Magistrate Judge issued an Order and Report and

Recommendation recommending that Plaintiff’s Motion for Leave to Proceed in forma pauperis

be granted; Plaintiff’s Motion for Temporary Restraining Order be denied and Plaintiff’s

Complaint be dismissed for failure to state a claim upon which relief may be granted. (See

Report and Recommendation, Doc. 11). The parties were advised of their right to object to the

Report and Recommendation. This matter is now before the Court on Plaintiff’s Objections to

the Report and Recommendation. (See Doc. 12). The Court will consider the matter de novo.

See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(3).

       Plaintiff objects to the Magistrate Judge’s Order and Report and Recommendation, by

arguing that he has filed a Motion to Amend his Complaint, but actually he has filed a Motion

for Extension of Time to file an Amended Complaint, which has been received and docketed by

the Court as ECF No. 13. Plaintiff’s objections attempt to summarize his claim(s),: “violat[ion]

of my U.S. Constitutional Rights under the First, Eighth and Fourteenth Amendments” and “I
 Case: 2:16-cv-01020-EAS-KAJ Doc #: 14 Filed: 03/08/17 Page: 2 of 2 PAGEID #: 98




filed grievances against said conduct and exhausted administrative remedies on November 29,

2016.” (ECF No. 12, Pl.’s Objs. at 2). However, Plaintiff’s objections present the same issues

presented to and considered by the Magistrate Judge in the Order and Report and

Recommendation. He has failed to establish any basis for reconsideration of the Magistrate

Judge’s conclusions that his Complaint fails to state a claim which relief may be granted by this

Court. Therefore, for the reasons stated in the Order and Report and Recommendation, this

Court finds that Plaintiff’s objections are without merit and are hereby OVERRULED.

       The Order and Report and Recommendation, ECF No. 11, is ADOPTED and

AFFIRMED. Plaintiff’s Complaint is hereby DISMISSED for failure to state a claim. Further,

Plaintiff’s Motion for Extension of Time to File an Amended Complaint is DENIED AS

MOOT.

       The Clerk shall remove Documents 2, 5, 11, and 13 from the Court’s pending motions

list. The Clerk shall terminate this case.

               IT IS SO ORDERED.

                                                     /s/ George C. Smith__________________
                                                     GEORGE C. SMITH, JUDGE
                                                     UNITED STATES DISTRICT COURT




                                                2
